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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiffs,                             4:17CR3149
     vs.
                                                            ORDER
LINDSEY R. KOCH,

                  Defendant.

      Defendant has moved to continue Defendant’s change of plea hearing.
(Filing No. 39). As explained by counsel, Defense counsel cannot attend the
hearing at the currently scheduled date and time. The motion to continue is
unopposed. Based on the representations of counsel, the court finds the motion
should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant’s motion to continue, (Filing No. 39), is granted.

      2)    Defendant's plea hearing will be held before the undersigned
            magistrate judge on March 23, 2018 at 10:00 a.m. Defendant is
            ordered to appear at this hearing.

      3)    For the reasons stated by counsel, the Court finds that the ends of
            justice served by continuing Defendant's plea hearing outweigh the
            best interest of Defendant and the public in a speedy trial.
            Accordingly, the time between today's date and the district court
            judge's acceptance or rejection of the anticipated plea of guilty shall
            be excluded for speedy trial calculation purposes. 18 U.S.C. §
            3161(h)(7). Failing to timely object to this order as provided under
            this court’s local rules will be deemed a waiver of any right to later
            claim the time should not have been excluded under the Speedy
            Trial Act.

      March 20, 2018.                       BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
